 

 

""* INBOUND NOTIFICATION : FAX RECEIVED SUCCESSFULLY *""

- _ _ _ 28 Filed 07/ PM§ Of1 STATUS
TIME RECE§@§€ 3.08 cv 03141 vaA RMQ@§WS€%OS QJG!SQQ§N 1 Received

 

Ju`|y 7, 2008 12:37:11 PM EDT 4
Ju| 07 08 11!373 Doug 9547869508 p

VHM [jylg-Ao-g():g ase;) suogop\[ go moddng ug uao.rg sE[Enc-q _;0 uop'cma[oeq
I ,

male S\j’l£)nou

W”@“" `
"RPFIOH ‘1111 95 '-11€:"1 1113 8003 ‘Amr 310 iep fm S.lql PQMMH

'§u;qs.l@c[ se q:ms aug loqulau;c .Iaq;\o rpm samdsgp lime menqu 01
pa:m§;[qo ana 11qu 3u!pu'elslepum{d1 S_r 1} ‘ullg .qur.uam 1a mm uos.r;»d pala;S}§al 12 s\;r 'g

'sag;.mc>ag 19)[001[) anqul segmon gas

 

01`1391913;391 stem [ ‘Hu_rps:>oo.rd losfqus mg u} spent stump sql 01 11112&\9{9.1 Seln_u [[“E ;lV 'Z
'u_c alaq ps;ms 5191112111 alp_;o aEpa[m.om{ {Euoslad QAQq pma 3[ go 359 ar_p, JQAG um ] '[
:a.m[osp ‘uae:{) se[§noq ‘I
( 'slmapu;ga(]
(
MOI:LVHJ;IHHV mdwoo 01 amf ( ‘NHHHD SV'IDnocI
A:IHAO:)SI<I cIMI<IH.IXH aNV :»ISnv:) ( pmg ;)TI SALLIHHQHS HEDI:)OH:)
AAOHS 01 milano ‘ozu; E)NI.LNVHB (
H::Icmo :+I.LHVJ~X:»I .»10 Nom.mossla ( 'SA
Ho¢l GMV nimmo HAILJHLOHJ (
dod SMolJ.ow 50 Luoaans NI ( ‘;J!wzvld
NH:».IH£) Sv*l£)noa 50 NOIJ.VHV'I;)'.H(I (
- (
va 1111 E-So-A;) '01~1 HSV:) ( ‘:)T] DNIHSHHJ
MolslAIa 'IIAI;)
vlhmoal'lv;) do lomlsla N)IHHLHON
J.zmo:) lomlsla sums umwa
' NHHHS» SV'IDHOCL
1119 plIQ_;QC[ .10_} .'{BU.IO}J,V

Luo:)'slgqmlalmog@eusné"a$loe$ :|!rau:rj;[

' srss-ezz(sls) rmi
Il+,»L-szz CSIS) rm

arms PP!~IOL~I ‘Eduwl
00;1@1!118"1>»\1&£1>9®=>>1 'H log

va HH:>INVA S£)QOA calle kram/moa
5_939.<:1 'ON HSV;) ‘VHHHQD 'T HDHOHD

 

§Z
17€
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33
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61
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91
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51
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